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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )              8:23CR11
                                              )
      vs.                                     )
                                              )
SETH COUFAL,                                  )                ORDER
                                              )
                                              )
                    Defendant.


      This matter is before the court on the defendant’s Motion to Continue Trial [35].
Counsel requires additional time to review discovery and confer with the defendant. For
good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [35] is granted, as follows:

      1. The jury trial, now set for October 24, 2023, is continued to January 2, 2024.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising as
         a result of the granting of this motion, that is, the time between today’s date
         and January 2, 2024, shall be deemed excludable time in any computation of
         time under the requirement of the Speedy Trial Act. Failure to grant a
         continuance would deny counsel the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence. 18 U.S.C. §
         3161(h)(7)(A) & (B)(iv).

      3. No further continuances will be granted without requesting a hearing
         before the undersigned magistrate judge.

      4. Final Trial Order [34] is vacated.


       DATED: October 17, 2023.

                                                  BY THE COURT:


                                                  s/ Michael D. Nelson
                                                  United States Magistrate Judge
